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                                    UNITED STATES DISTRICT COURT

                                     MIDDLE DISTRICT OF LOUISIANA

MAX GELLER                                                                                CIVIL ACTION NO.

VERSUS                                                                                    17-324-JWD-EWD

CITY OF BATON
ROUGE, ET AL.

                              VIDEO SETTLEMENT CONFERENCE ORDER

           A settlement conference has been set for July 30, 2021 at 1:30 p.m. by video conference

considering the ongoing COVID-19 pandemic and the general orders of this Court.

       A. LOGISTICAL REQUIREMENTS

       The settlement conference will be limited to two (2) hours. All parties must have access to a

microphone, camera and internet connection to participate in the conference, although a participant

can log into the system from a smartphone after downloading the app. Participant instructions are

attached.

           The settlement conference will begin with a brief statement by Judge Wilder-Doomes.1

Thereafter, the parties will be separated into breakout rooms, and Judge Wilder-Doomes will facilitate

the negotiations between the parties.

           The following is provided to ensure that the necessary parties are available for the conference,

to assist the Court in an objective appraisal and evaluation of the lawsuit, and to facilitate settlement

of this matter in the most efficient manner.




1
    Judge Wilder-Doomes does not generally permit opening statements by the parties during the joint session.
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B.      PERSONS ATTENDING THE CONFERENCE

        In addition to counsel who will try the case,2 a person with full settlement authority must be

present for each party during the conference. This requirement contemplates the presence of your

client or, if a corporate entity, an authorized representative of your client, who has full and final

settlement authority. The purpose of this requirement is to have representatives present who can settle

the case during the course of the conference without consulting a superior. Any other persons deemed

necessary to negotiate a settlement may also attend. Since the settlement conference will be

conducted by video, there should not be any reason this requirement cannot be fulfilled, however,

any person seeking relief from this requirement must fax a letter to Judge Wilder-Doomes at

least two (2) days prior to the settlement conference after conferring with counsel for all other

parties to determine whether there is any objection. Any request for relief must state the reasons

relief is requested. Relief will be granted only for extraordinary circumstances. Counsel of record

will be responsible for timely advising any involved non-party (i.e., insurance company), of the

requirements of this Order.

C.      CONFIDENTIAL STATEMENTS

        The parties shall submit confidential settlement position papers by noon 7 days prior to the

conference3 to the judge’s chambers via facsimile transmission to (225) 389-3585. The statement

shall not exceed five pages and must contain the following:

        (a)      Persons Participating: The name and title, if applicable, of the client or authorized
                 representative who will be attending the conference with trial counsel.

        (b)      Statement of your Case: The position paper should set forth a brief statement of your
                 claim or defense. It should also contain a statement of the liability issues present,


2
  This requires the attorney who is designated as the lead attorney, pursuant to Local Civil Rule 11(b) to attend the
conference unless permission is obtained from the Court for other counsel to attend.
3
  If the settlement conference is scheduled less than 7 days from the date of this Order, the position papers must be
submitted as soon as possible. If Judge Wilder-Doomes does not receive position papers timely, the settlement conference
may be canceled.

                                                           2
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               including a description of the strongest and weakest points of your case, both legal and
               factual.

       (c)     Quantum: A brief statement of your position on quantum, including any injuries
               sustained. When applicable, describe any surgeries, current medical status, and any
               other relevant legal or factual issues.

       (d)     Summary of settlement negotiations to date. A listing of demands and counteroffers.

       A concluding section should contain suggestions for a satisfactory resolution of the claim.

Please do not be bound by monetary solutions, but rather consider all possible alternatives to reaching

a satisfactory resolution. Also, please keep in mind that these submissions are confidential, will not

be exchanged, are not binding, and that posturing is inappropriate and only serves to handicap the

process. Judge Wilder-Doomes serves as a neutral facilitator in this process. Overstating the strength

of your arguments serves no purpose.

D.     ATTACHMENTS

       Copies of the following documents may be attached to the confidential settlement position

paper if they exist and counsel believe they are relevant:

       (a)     Major relevant medical reports concerning plaintiff’s medical condition (if
               applicable);

       (b)     Economic loss reports;

       (c)     Non-medical expert reports; or

       (d)     Any other documents which counsel believe may be of benefit to the Court in
               evaluating the case.

E.     EXCHANGE OF SETTLEMENT OFFERS

       Settlement conferences are often unproductive unless the parties have exchanged demands

and offers before the conference and made a serious effort to settle the case on their own. Before the

settlement conference the parties are to negotiate and make a good faith effort to settle the case

without the involvement of the Court. A specific settlement offer, in writing, must be submitted


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by the plaintiff to the defendant at least 21 days prior to the settlement conference, with a brief

explanation of the basis for the demand.                    If unacceptable to the defendant, a specific

counteroffer, in writing, must be submitted by the defendant to the plaintiff at least 14 days

prior to the settlement conference, with a brief explanation of the basis for the counteroffer.4

The parties shall include a list of the demands and counteroffers in their position papers. If the case

settles prior to the conference, the parties shall immediately notify Judge Wilder-Doomes’ chambers.

F.      CONFIDENTIALITY

        The contents of the statements and all communications made in connection with the settlement

conference are confidential and will not be disclosed to non-parties without the express permission

of the communicating party or order of a court of competent jurisdiction.5 The statements and any

other documents submitted for the settlement conference will be maintained in chambers and will be

destroyed after the conference.

        Failure to timely comply with all requirements of this Order may result in cancellation

of the settlement conference and/or sanctions at the Court’s discretion.

        Signed in Baton Rouge, Louisiana, on July 19, 2021.


                                                     S
                                                     ERIN WILDER-DOOMES
                                                     UNITED STATES MAGISTRATE JUDGE




4
  If the settlement conference is scheduled to occur in less than 21 days, the parties shall still exchange a demand and
response prior to the conference.
5
  As Judge Wilder-Doomes will explain in the opening session, communications during the conference are not confidential
as between the parties unless a party specifically requests confidentiality regarding the communication.

                                                           4
